Case 1:21-cv-01597-RLY-MPB Document 1 Filed 06/08/21 Page 1 of 5 PageID #: 1
                                                                       FILED
                                                                      06/08/2021
                                                                U.S. DISTRICT COURT
                                                              SOUTHERN DISTRICT OF INDIANA
                                                                 Roger A.G. Sharpe, Clerk




                                               1:21-cv-01597-RLY-MPB
Case 1:21-cv-01597-RLY-MPB Document 1 Filed 06/08/21 Page 2 of 5 PageID #: 2
Case 1:21-cv-01597-RLY-MPB Document 1 Filed 06/08/21 Page 3 of 5 PageID #: 3
Case 1:21-cv-01597-RLY-MPB Document 1 Filed 06/08/21 Page 4 of 5 PageID #: 4
Case 1:21-cv-01597-RLY-MPB Document 1 Filed 06/08/21 Page 5 of 5 PageID #: 5
